         Case 3:20-cr-00389-DCG Document 274 Filed 06/20/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
v.                                              §
                                                §               EP-20-CR-00389-DCG
PATRICK WOOD CRUSIUS,                           §
                                                §
               Defendant.                       §

                       ORDER RESETTING SENTENCING HEARING

       The Court previously scheduled a sentencing hearing in this case for June 30, 2023. See

Order Setting Sentencing, ECF No. 272. The Government and Defendant Patrick Wood Crusius

have now jointly moved to reset sentencing in order to lessen logistical burdens and to allow the

greatest number of people to attend the entire proceedings. See Joint Mot. Continue Sentencing,

ECF No. 273. Finding the parties’ request appropriate, the Court GRANTS the parties’ “Joint

Motion to Continue Sentencing” (ECF No. 273) and MODIFIES the sentencing hearing

schedule as follows:

       This case is set for a SENTENCING HEARING beginning on July 5, 2023 at 9:00

a.m. Mountain Time in Courtroom Number 812 on the Eighth Floor of the United States

Courthouse, 525 Magoffin Avenue, El Paso, Texas.

       The Sentencing Hearing will proceed under the following schedule:

     Portion of the Sentencing Proceeding                          Date and Time

 1. Discuss the Presentence Report and hear         July 5, 2023, beginning at 9:00 a.m.
    and resolve objections to the Report;
    Defense Counsel’s and Defendant Patrick
    Wood Crusius’s allocution
 2. Victim impact statements                        July 5, 2023, beginning at 1:00 p.m. and
                                                    proceeding until finished. The Court expects
                                                    this portion of the hearing to take
                                                    approximately two days.

                                               -1-
        Case 3:20-cr-00389-DCG Document 274 Filed 06/20/23 Page 2 of 2




 3. The Government’s allocution and the          10:00 a.m. on the day immediately following
    Court’s pronouncement of Defendant’s         the last victim impact statement (unless that
    sentence                                     last victim impact statement is given on
                                                 Friday, in which case this portion of the
                                                 sentencing will begin at 10:00 the following
                                                 Monday)

       While each portion of the proceeding will take place in Courtroom Number 812, the

Court will provide overflow capacity in a designated space in the Courthouse.

       So ORDERED and SIGNED this 20th day of June 2023.




                                                DAVID C. GUADERRAMA
                                                UNITED STATES DISTRICT JUDGE




                                              -2-
